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Exhibit “C”
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Honorable Judge: Steve C. Jones

| hope you would take a few moments of your time to read this character letter | wrote for your
consideration in regards to my sentencing.

People who know me would consider me as someone you would always depend on, as well as being an
amazing friend who would always be there for them. Some may say I’m too nice, and too honest a fot of
the time. All together I’m really a caring person who is ready to help anybody in need. | have a family of
my own, and most of all | consider myself first, and foremost as a loving father, and a dedicated long
term companion.

As a child | suffered a great deal of mental, verbal, and physical abuse, along with the broken promises
of hopes, and wishes by my own mother, and father. So as a father | found myself at first desperate, and
weak, but overtime | learned to be a better father. | would do anything to make sure my children were
happy, and would never have to experience the things | went through as a child.

So please understand with the thought of losing an opportunity to have my son for the first summer due
to a broken promise, or losing everything that | worked hard for, because | was not able to fund a trip to
LAS VEGAS, NV. To pick up my son, and be able to make my payments at the same time. So | became
desperate, and overcome with emotional pressure that pushed me to experiment with a control
substance.

Now every day that | am in jail my children suffer mentally as well as emotionally without me. | realize
the pain, and disappointment | caused to the people that love me as well. | wish now | would have
acknowledge that | needed professional help for the emotional pressure that pushed me to experiment
with a control substance.

This then caused me to make drastic decisions | now regret while | was under the influence, and it
interfered with my psychological thinking of being something, or someone completely out of my
character.

From the time | spent sitting in my cell | asked myself, “How can I really explain my actions? “ The only
answer | have, is to be completely honest from now on, even if it may sound to others as a poor excuse
for my actions.

I do understand that with my actions, | have to face consequences. | am sorry for what ! did, and accept
full responsibility for what | did, without any further excuse to justify my actions. | ask for your
consideration for a possible minimum sentence so that | can get back to my children to provide, and be
there for my own family, also restart my life at a reasonable age please. | would also like to thank you
for your time in reading this letter as well.

Respectfully Submitted:
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WAYNE A. PATTERSON.

 
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